993 F.2d 1537
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Tyrone HURT, Petitioner-Appellant,v.UNITED STATES of America, Respondent-Appellee.
    No. 93-6315.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  May 3, 1993Decided:  May 28, 1993
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  Robert E. Payne, District Judge.  (CA-92-1273-2)
      Tyrone Hurt, Appellant Pro Se.
      E.D.Va.
      DISMISSED.
      Before RUSSELL and HALL, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Tyrone Hurt filed suit under 28 U.S.C. § 2254 (1988) and sought leave to proceed in forma pauperis.  The district court assessed a filing fee in accordance with  Evans v. Croom, 650 F.2d 521 (4th Cir. 1981), cert. denied, 454 U.S. 1153 (1982), and dismissed the case without prejudice when Petitioner failed to comply with the fee order.  Petitioner seeks to appeal.  Finding no abuse of discretion, we deny leave to proceed in forma pauperis, deny a certificate of probable cause to appeal, and dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    